                                                                                 Motion GRANTED.
                                                                                 Hearing reset for
                           UNITED STATES DISTRICT COURT                          10/11/12 at 3:00 p.m.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )       No. 2:11-00002-14
       v.                                             )
                                                      )       JUDGE TRAUGER
TIMOTHY RICHARD FORRESTER                             )

                    MOTION TO CONTINUE SENTENCING HEARING

       The United States of America, by and through J. Alex Little, Assistant United States Attorney

for the Middle District of Tennessee, requests the Court to continue the sentencing hearing currently

set for Thursday, September 27, 2012, to another date convenient to the court.

       The United States seeks a continuance to allow the parties additional time in which to

calculate the defendant’s criminal history points due to recent state criminal convictions in which

United States Probation and Pretrial Services has yet to receive the judgements. The United States

has consulted with Probation and acquiring the judgments will be done in a timely manner. The

United States requests that the Court continue the sentencing hearing for two weeks.

       The undersigned has attempted to contact counsel for the defendant, but has been unable to

reach him at the time of the filing of this motion.

       Therefore, the United States requests the sentencing hearing be continued for two weeks to

a date convenient to the Court.

                                                      Respectfully submitted,

                                                      JERRY E. MARTIN
                                                      UNITED STATES ATTORNEY

                                                      s\ J. Alex Little
                                                      J. ALEX LITTLE
                                                      Assistant United States Attorney
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